      Case 2:18-cv-00861-SJO-RAO Document 38 Filed 06/26/18 Page 1 of 1 Page ID #:124
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                     REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                           FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                            ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                 TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court            Northern District of Texas-Dallas Division                        on the following
      G Trademarks or         ✔ Patents.
                              G             ( G the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
     3:17-cv-03005            10/31/2017               Northern District of Texas-Dallas Division
PLAINTIFF CV 18-00861 SJO (RAOx)                   DEFENDANT
                                   USDC CENTRAL CA
 Display Technologies LLC                           Yamaha Corporation of America



        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 9,300,723                                                          Display Technologies LLC

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                       G Amendment            G Answer          G Cross Bill        G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
 6/26/18 minutes dismissing case per Notice of voluntary dismissal




CLERK                                                      (BY) DEPUTY CLERK                                            DATE
Kiry Gray                                                    L Chai                                                            6/26/2018
                                                                   X
Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
